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         EXHIBIT 2
                                                                                          Page 1 of 3
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From:                  Rick Singer [rwsinger@gmail.com]
Sent:                  Friday, October 15, 2010 12:47:24 AM
To:                    John Wilson
Subject:               Re: college prep consultant

Thank you. I will call you at 2PM.

Sent via BlackBerry by AT&T


From: "John Wilson" <john@hyannisportcapital.com>
Date: Thu, 14 Oct 2010 17:43:01 -0700
To: <rwsinger@gmail.com>
Subject: RE: college prep consultant

Rick

It was nice to catch up with you briefly by phone today. Tomorrow at two would be fine.

My cell is 650 270-5757

John




John B. Wilson
Hyannis Port Capital
John@hyannisportcapital.com
(650) 347-5757
fax: (650) 343-6757


From: Rick Singer [mailto:rwsinger@gmail.com]
Sent: Thursday, October 14, 2010 2:48 PM
To: Jeffrey DeMaio AYCO; John Wilson
Cc: Rick Singer
Subject: Re: college prep consultant

My contact information is as follows: rwsinger@gmail.com and 916 384-8802 cell.

Thanks

Sent via BlackBerry by AT&T


From: "Demaio, Jeff (Ayco)" <jdemaio@ayco.com>
Date: Thu, 14 Oct 2010 16:09:11 -0400




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To: 'John Wilson'<john@hyannisportcapital.com>
Cc: 'rick.singer@comcast.net'<rick.singer@comcast.net>
Subject: RE: college prep consultant

Hi John,

Following up on our e mails below, I was not sure if you ever received Rick’s contact info from us or
Rick?

Rick – this is my client John Wilson who I thought would value a discussion with you regarding how
you may be able to help him/his family.

Would you please send your current contact info.

Regards,
Jeff


Jeffrey V. DeMaio
Vice President - Financial Counseling
The Ayco Company, L.P.
a Goldman Sachs Company
17900 Von Karman Ave, Suite 200
Irvine, California 92614
D: 949-794-4873
F: 917-977-4263




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challenging any tax treatment discussed in this correspondence and attachments, if any.
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recipient, please advise the sender immediately and delete this message and any attachments. Follow this
link for further information on confidentiality and the risks inherent in electronic communication:
http://www.gs.com/disclaimer/email."

       From: John Wilson [mailto:john@hyannisportcapital.com]
       Sent: Monday, September 13, 2010 10:58 AM
       To: Demaio, Jeff (Ayco)
       Subject: Re: college prep consultant

       Thx jeff. I don't see his contact info

       Sent from my iPad

       On Sep 13, 2010, at 10:26 AM, "Demaio, Jeff (Ayco)" <jdemaio@ayco.com> wrote:




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                                                                                              Page 3 of 3
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      John,

      Following up on our recent conversations, I wanted to introduce you to Rick Singer who works
      with some mutual clients in the area of college entrance prep.

      Rick is very accomplished in this area and would be helpful to have a conversation with at a
      minimum.

      Rick – please send your latest contact info, phone numbers etc to John and I.

      Thanks

      Regards,

      Jeff



      Jeffrey V. DeMaio
      Vice President - Financial Counseling
      The Ayco Company, L.P.
      a Goldman Sachs Company
      17900 Von Karman Ave, Suite 200
      Irvine, California 92614
      D: 949-794-4873
      F: 917-977-4263




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